            Case 1:22-cv-10024-MJJ Document 90 Filed 07/23/24 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

NEW ENGLAND SPORTS NETWORK, L.P.,

                   Plaintiff,

       v.
                                                      Civil Action No. 22-CV-10024-MJJ
ARIEL LEGASSA; ALLEY INTERACTIVE
LLC (CT),

                   Defendants.


                                PLAINTIFF’S STATUS REPORT

       Pursuant to the Court’s June 17, 2024 Electronic Notice of Rescheduling, Plaintiff New

England Sports Network, L.P. (“NESN”) submits this Status Report.

       On November 3, 2023, Defendant Ariel Legassa was convicted by a federal jury of seven

counts of mail fraud, in violation of in violation of 18 U.S.C. § 1341, and three counts of

unlawful money transactions, in violation of 18 U.S.C. § 1957. The elements of those

convictions are coextensive with the elements of claims at issue in this litigation. NESN is

currently considering its options with respect to this matter.

       On June 12, 2024, counsel for Defendants filed a motion to withdraw as attorney for

Defendant Ariel Legassa. The Court has not ruled on this motion. As Mr. Legassa is

incarcerated, Plaintiff cannot confer with him.

Dated: July 23, 2024                              Respectfully Submitted,

                                                  NEW ENGLAND SPORTS NETWORK, L.P.,

                                                  By Its Attorneys,

                                                  /s/ Christopher M. Morrison
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Case 1:22-cv-10024-MJJ Document 90 Filed 07/23/24 Page 2 of 3




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                            -2-
          Case 1:22-cv-10024-MJJ Document 90 Filed 07/23/24 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that, on July 23, 2024, the foregoing was filed through the Court’s ECF

system and will be sent electronically to the registered participants.


                                              /s/ Jacob E. Morse
                                              Jacob E. Morse




                                                -3-
